IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       - vs –
                                                   Case No. 15 Cr. 867 (RMB)
TÜRKIYE HALK BANKASI A.S.,
  a/k/a “Halkbank,”                                DECLARATION OF ANDREW C. HRUSKA
                                                   IN SUPPORT OF KING & SPALDING LLP’S
           Defendant.                              MOTION TO WITHDRAW AS COUNSEL




       I, Andrew C. Hruska, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, as

follows:

   1. I am a partner with the law firm of King & Spalding LLP (“K&S”), counsel of record for

Halkbank in the above-captioned matter.

   2. I make this Declaration in Support of K&S’ Motion to Withdraw as Counsel, pursuant to

Local Rule 1.4 of the Rules of this Court.

   3. I do not believe Halkbank will suffer any prejudice from K&S’ withdrawal as counsel in

the above-captioned matter. Robert Cary of Williams & Connolly has filed a notice of

appearance on March 27, 2020 that includes authorization from Halkbank to represent it in

further proceedings in this matter and to proceed with the arraignment. The Court has scheduled

arraignment for March 31, 2020, and Halkbank has new counsel prepared to represent it at the

arraignment and going forward in this case.

   4. I have informed Halkbank that K&S intends to move to withdraw. Halkbank has

consented to the filing of this motion.



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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

       Executed on March 27, 2020 in New York, New York.



                                                                   /s/ Andrew C. Hruska
                                                                   Andrew C. Hruska
                                                                   William F. Johnson
                                                                   Katherine Kirkpatrick
                                                                   Jacob Gerber
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                                                                   Withdrawing Attorneys for
                                                                   Defendant Halkbank




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